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Frome.
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Las Vegas, Nevada 89101 oy
(702) 388-6585 / Fax (702) 388-6698 —
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
-000-
UNITED STATES OF AMERICA, Magistrate No. 7° !4-myj-00441-VCF
Plaintiff, COMPLAINT for a violation of Title 18,

United States Code, Section 922(g)(1) and
924(a)(2) — Felon in Possession of a
Firearm.

V8.

BRIAN WRIGHT,

Defendant.

 

 

 

 

BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
complainant, being duly sworn, deposes and states:

On or about June 6, 2014, in the State and Federal District of Nevada, BRIAN
WRIGHT, defendant herein, having been convicted of crimes punishable by imprisonment for
a term exceeding one year, in the State of Nevada, to wit: Conspiracy to Commit Robbery,
Burglary while in Possession of a Firearm and Robbery with the Use of a Deadly Weapon, on or
about March 22, 2007, in Case No. C2288928, in the Eighth Judicial District Court, Clark
County, did knowingly possess a firearm, to wit: a Glock Model 27 .40 caliber handgun bearing
serial number “VYNG189,” said possession being in and affecting interstate commerce and said
firearm having been shipped and transported in interstate and foreign commerce, all in violation

of Title 18, United States Code, Section 922(g)(1) and 924(a)(2).

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1 PROBABLE CAUSE AFFIDAVIT
2 Complainant, Christopher W. McPeak as a Special Agent with the Federal Bureau of
3 || Investigation (FBI), states the following as and for probable cause:
4 1. Your Complainant is a Special Agent with the Federal Bureau of Investigation
5 || (FBI) currently assigned to the Las Vegas, Nevada Division, and has been so employed for
6 || over four years. Prior to this, he was employed for over five years as a Deputy Sheriff and
7 || Detective with the Orange County, Florida Sheriff's Office. As an FBI Agent, your
8 || Complainant is assigned to the FBI's Las Vegas Safe Streets Task Force and is responsible for
9 || investigating a variety of violent crimes, to include bank robbery, kidnapping, extortion,
10 |/ robbery, carjacking, assault and murder of Federal Officers, racketeering related violent
11 || offenses, and violations of the Controlled Substances Act (CSA), as well as long-term
12 || investigations into the activities and operations of criminal enterprises, drug trafficking
13 |) organizations, and violent street gangs. Your Complainant has experience in conducting
14 || criminal investigations, including the investigation of criminal groups and conspiracies, as well
15 || as the collection of evidence and the identification and use of witnesses.
16 2. The following information contained within this criminal complaint is based
17 || upon my own participation in this investigation or was provided to me by other law
18 || enforcement personnel. Because this Affidavit is being submitted for the limited purpose of
19 || securing a Criminal Complaint, I have not included each and every fact known to me
20 || concerning this investigation. [ have set forth only those facts that I believe are necessary to
21 {| establish probable cause.
22 FACTS ESTABLISHING PROBABLE CAUSE
23 3. Beginning in May 2014, Detectives from the Las Vegas Metropolitan Police

24 || Department (“LVMPD”) and the Henderson Police Department (“HPD”) began investigating a

 

 

 

 
 

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1 }) series of three armed robberies which targeted high-end jewelry stores doing business in those
2 || jurisdictions. Based on the methods with which the robberies were committed and the general
3 || description of the gunman involved, investigators believed these robberies were committed by
4 || the same person or persons.
5 4. On or about June 6, 2014, investigators developed information that BRAIN
6 || WRIGHT (hereinafter “WRIGHT”) and others were involved in the conspiracy to commit the
7 || aforementioned jewelry store robberies. Based on that investigation, Detectives from HPD
8 || obtained a search warrant to search the residence located at 8102 Yellow Daisy Avenue, Las
9 || Vegas, Nevada. Investigators linked WRIGHT to this residence through Nevada Department of
10 || Motor Vehicle records which established that WRIGHT used this address when he obtained a
11 || driver’s license on May 28, 2014.
12 5. At the time the search warrant was executed, two persons were located inside the
13 |) Yellow Daisy residence, BRIAN WRIGHT and another individual identified herein as T.F.
14 || Detectives from HPD and LVMPD conducted a search of the premises, during which they

15 || located the following:

16 1) Four plastic bags of apparent marijuana;

17 2) $23,513.00 in U.S. Currency; and

18 3) one Glock, Model 27 .40 caliber handgun, bearing serial number “VNG189.”"
19 6. The aforementioned firearm was recovered in the kitchen, on top of cabinets.

20 7. Detectives conducted a post-Miranda interview with T.F., during which she

21 |/identified WRIGHT as her boyfriend and co-resident of the house at 8102 Yellow Daisy
22 |; Avenue. T-.F. further stated that she did not have any employment, nor did WRIGHT to her
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' A subsequent records checked revealed that this handgun was stolen in a residential burglary reported to the
LYMPD on April 13, 2014.
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1 || knowledge. T.F. also told Detectives that the lease and utilities for the residence were in her

2 || name.

3 8. Detectives also conducted a post-Miranda interview with WRIGHT. During this

4 || interview he denied living at the residence, denied any knowledge of the money in the residence

5 || and denied having any possessions in the residence.

6 9. Based on your Complainant’s training and experience, he has reason to believe

7 {| that the aforementioned Glock handgun traveled in interstate commerce from outside the state

8 || of Nevada to inside the state.

9 10. Your Complainant conducted a review of BRIAN WRIGHT’s criminal history
10 |{ records, which revealed that on or about March 22, 2007, he was convicted in the State of
11 || Nevada for the offenses of Conspiracy to Commit Robbery, Burglary while in Possession of a
12 || Firearm and Robbery with the Use of a Deadly Weapon, in Case No. C2288928, in the Eighth
13 {| Judicial District Court, Clark County. In your Complainant’s experience each of these offenses

14 |] is a felony punishable by imprisonment for a term exceeding one year or more.

15 CONCLUSION
16 11. Based on the foregoing complaint, it is your Complainant’s opinion that there is

17 |}! probable cause that BRIAN WRIGHT, did knowingly possess a firearm, to wit: a Glock Model
18 ||27 .40 caliber handgun, bearing serial number “VNG189,” said possession being in and
19 || affecting interstate commerce and said firearm having been shipped and transported in interstate
20 || and foreign commerce, all in violation of Title 18, United States Code, Section 922(g)(1} and
21 || 924(a)(2).

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22 Christopher W. McPeak, Special Agent
Federal Bureau of Investigation

 

23 || SUBSCRIBED and SWORN to before me
Thisgday of June, 2014

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GNITED STATES MAGISTRATE JUDGE
4 aE

 

 

 

 

 
